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06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )         CASE NO. CR06-026-RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )         SUMMARY REPORT OF U.S.
11   MERHAWI HAGOS HAILE,                 )         MAGISTRATE JUDGE AS TO
                                          )         ALLEGED VIOLATIONS
12         Defendant.                     )         OF SUPERVISED RELEASE
     ____________________________________ )
13

14         An evidentiary hearing on supervised release revocation in this case was scheduled

15 before me on December 14, 2011. The United States was represented by AUSA Andrew

16 Friedman and the defendant by Lee Covell. The proceedings were digitally recorded.

17         Defendant had been sentenced on or about September 6, 2006 by the Honorable Robert

18 S. Lasnik on a charge of Conspiracy to Distribute Cocaine Base, and sentenced to 84 months

19 custody, five years supervised release.

20         The conditions of supervised release included the standard conditions plus the

21 requirements that defendant participate in drug treatment, abstain from alcohol, submit to

22 search, participate in a mental health program, provide his probation officer with financial



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01 information upon request, not associate with any known gang members, and, if deported, not

02 enter the United States without permission. (Dkt. 211.)

03          The sentence was reduced to 68 months pursuant to 18 U.S.C. § 3582(c)(2) on April 7,

04 2008. (Dkt. 357.)

05          In an application dated August 11, 2011 (Dkt. 481, 482), U.S. Probation Officer

06 Jennifer Tien alleged the following violations of the conditions of supervised release:

07          1.     Failing to work at a lawful occupation since April 2011, in violation of standard

08 condition number 5.

09          2.     Failing to report a change in residence 10 days prior to any change, in violation

10 of standard condition number 6.

11          3.     Failing to report a change in employment 10 days prior to any change, in

12 violation of standard condition number 6.

13          4.     Failing to report to his probation officer on June 8, 2011, and June 9, 2011, in

14 violation of standard condition number 2.

15          5.     Failing to report to his probation officer on July 29, 2011, in violation of

16 standard condition number 2.

17          6.     Failing to provide a valid urine sample as instructed by stalling, on August 3,

18 2011, in violation of the special condition of drug testing.

19          Defendant was advised in full as to those charges and as to his constitutional rights.

20          Defendant previously admitted violation 3. (Dkt. 502, 505.) On this date, defendant

21 admitted violations 1, 4, 5, and 6 and waived any evidentiary hearing as to whether they

22 occurred. The government moved to dismiss violation 2.



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01         I therefore recommend the Court find defendant violated his supervised release as

02 alleged in violations 1, 4, 5, and 6 (plus violation 3 as previously reported), that the Court

03 dismiss violation 2, and that the Court conduct a hearing limited to the issue of disposition.

04 The next hearing will be set before Judge Lasnik.

05         Pending a final determination by the Court, defendant has been detained.

06         DATED this 14th day of December, 2011.

07

08                                                     A
                                                       Mary Alice Theiler
09                                                     United States Magistrate Judge

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12 cc:     District Judge:               Honorable Robert S. Lasnik
           AUSA:                         Andrew Friedman
13         Defendant=s attorney:         Lee Covell
           Probation officer:            Jennifer Tien
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